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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )               CIVIL ACTION
v.                                                )
                                                  )               No. 05-3384-CM
                                                  )               No. 03-20003-CM
ANTONIO MOORE,                                    )
                                                  )
                        Defendant.                )
                                                  )

                                               ORDER

        On September 6, 2006, this court denied in part petitioner’s pro se motion to vacate, set

aside, or correct his sentence (Doc. 402). On November 1, 2006, the court held a hearing on the

remainder of petitioner’s motion and denied that portion of the motion, as well. Petitioner has now

filed a request for a certificate of appealability and notice of appeal (Docs. 446 and 447). The court

will issue a certificate of appealability “only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Under this standard, a petitioner must

show that “reasonable jurists could debate whether . . . the petition should have been resolved in a

different manner or that the issues presented were adequate to deserve encouragement to proceed

further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal quotation marks and citation

omitted).

        In his motion, petitioner rehashes arguments that this court has previously considered. For

the reasons stated in the court’s Memorandum and Order filed September 6, 2006 and on the record

at the November 1, 2006 hearing, the court finds that petitioner has not made a substantial showing

of the denial of a constitutional right.
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       IT IS THEREFORE ORDERED that petitioner’s request for a certificate of appealability

(Doc. 446) is denied.

       Dated this 9th day of January, 2007, at Kansas City, Kansas.


                                                      s/ Carlos Murguia
                                                      CARLOS MURGUIA
                                                      United States District Judge




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